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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
In Re:

WINN-DIXIE RALEIGH, INC., Case No. 3:05-bk-03817-3F 1

Chapter 11 (Jointly Administered)
Debtor.
/

CATAMOUNT LS-KY, LLC’S AMENDED MOTION FOR

PAYMENT BY WINN-DIXIE RALEIGH, INC. OF POSTPETITION
ADMINISTRATIVE CLAIM WITH RESPECT TO STORE NOS. 1673 AND 1676

Catamount LS-KY, LLC, a Nevada limited liability company, as assignee of Helene
Funk and Peter W. Merner, as nominee for John H. O. La Gatta, as successor to Flask
Corporation (““LS-KY”), hereby amends its June 27, 2006 Motion for Payment by Winn-Dixie
Raleigh, Inc. of Postpetition Administrative Claim with Respect to Store Nos. 1673 and 1676,
and respectfully requests that the Court allow the payment of LS-KY’s administrative claim from
the estate of the debtor, Winn Dixie Raleigh, Inc. a/k/a Winn Dixie Charlotte, Inc. and a/k/a
Winn Dixie Louisville, Inc. (collectively, “Debtor’’), Case No. 3:05-bk-03839-3F1 (Bankr. M.D.
Fla., Jacksonville Div.), in an amount not less than $186,462.18 (the “Administrative Claim”),
and in support states as follows:

1. On February 21, 2005 (the “Petition Date”), the Debtor filed its voluntary Petition
for Relief pursuant to Chapter 11 of the United States Bankruptcy Code (the “Code’’) in the
United States District Court for the Southern District of New York (“New York Court’). By
order dated April 13, 2005, the New York Court transferred venue of this case to this Court.

2. Pursuant to that certain February 10, 1984 Lease and Sublease Agreement, as

amended by that certain October 10, 1986 First Lease Modification Agreement, and that certain

January 30, 1992 Second Lease Modification Agreement (as amended, the “Louisville Lease”),
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by and between the Debtor and LS-KY for that certain real property and fixtures Debtor refers to
as Store No. 1676 at 1148 South 4th Street (4th & Oak), Louisville, Kentucky (the “Louisville
Premises”), LS-KY leased the Louisville Premises to Debtor. Moreover, pursuant to that certain
October 18, 2004 Assignment and Assumption of Lease Agreement, Debtor assigned its interest
in the Louisville Lease (the “Louisville Assignment’) to Buehler of Kentucky LLC (“BOK”).
Copies of the Louisville Lease (consisting of the Lease and Sublease Agreement, the First Lease
Modification Agreement, the Second Lease Modification Agreement, the Notice of Change of
Nominee (related thereto)) and the Louisville Assignment are not attached hereto solely because
of their voluminousness; rather, the foregoing description of them shall serve as their summary
description as permitted by law, and copies of them will be provided upon request.

3. Further, pursuant to that certain February 10, 1984 Lease and Sublease
Agreement, as amended by that certain October 10, 1986 First Lease Modification Agreement,
and that certain January 30, 1992 Second Lease Modification Agreement (as amended, the
“Shelbyville Lease’), by and between the Debtor and LS-KY for that certain real property and
fixtures Debtor refers to as Store No. 1673 at 120 Midland Boulevard, Shelbyville, Kentucky
(the “Shelbyville Premises”), LS-KY leased the Shelbyville Premises to the Debtor. Moreover,
pursuant to that certain October 18, 2004 Assignment and Assumption of Lease Agreement,
Debtor assigned its interest in the Shelbyville Lease (the “Shelbyville Assignment’”)(the
Louisville Lease and the Shelbyville Lease are collectively, the “Leases) to BOK. Copies of the
Shelbyville Lease (consisting of the Lease and Sublease Agreement, the First Lease Modification
Agreement, the Second Lease Modification Agreement, the Notice of Change of Nominee

(related thereto)) and the Shelbyville Lease Assignment are not attached hereto solely because of
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their voluminousness; rather, the foregoing description of them shall serve as their summary
description as permitted by law, and copies of them will be provided upon request.

4, Pursuant to §[ 6 and 19 of the Louisville Lease and the Shelbyville Lease,
respectively, and as Debtor has acknowledged, see, e.g., Debtors’ November 11, 2005 Motion
for Order Authorizing (1) Rejection of Leases and Subleases and (II) Abandonment of Related
Personal Property, Debtor retained liability as a principal under each of these leases for all
obligations thereunder, notwithstanding the Louisville Assignment and the Shelbyville
Assignment. Moreover, pursuant to the Louisville Assignment and the Shelbyville Assignment,
Debtor expressly remained responsible for all of its liabilities and obligations under each of the
Louisville Lease and the Shelbyville Lease, respectively.

5. On May 4, 2005, BOK filed its voluntary Petition for Relief pursuant to Chapter
11 of the United States Bankruptcy Code (the “Code’’) in the United States Bankruptcy Court for
the Southern District of Indiana, Evansville Division, which case is being jointly administered as
Case No. 05-70961-BHL-11 with those other Chapter 11 cases filed on the same date by BOK’s
affiliates, Buehler Foods, Inc., Buehler, LLC and Buehler of Carolinas, LLC.

6. Pursuant to its September 1, 2005 Order (1) Authorizing Retroactive Rejection of
Real Property Leases and (II) Abandonment of Related Personal Property, this Court authorized
the rejection of the Louisville Lease effective September 1, 2005 (the “Louisville Rejection
Date”). Pursuant to its December 15, 2005 Order Authorizing (I) Rejection of Real Property
Leases and (II) Abandonment of Related Personal Property effective December 16, 2005, this
Court authorized the rejection of the Shelbyville Lease effective December 16, 2005 (the
“Shelbyville Rejection Date’’) (collectively with the Louisville Rejection Date, the “Rejection

Dates’’).
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7. Pursuant to 11 U.S.C. §365, the Debtor was obligated to make any payments due
under the Leases from the Petition Date to and including the Rejection Dates, including, but not
limited to, rent, percentage rent, maintenance, insurance, and taxes.

8. As a result of the Debtor’s obligations to LS-KY under §365, pursuant to 11
U.S.C. §§ 365(d)(3), 503(b)(1) and 507(a), LS-KY has the following administrative claims,
among others, against Debtor under the Louisville Lease:

a. Rent: Debtor was obligated to pay rent for the period from February 21,

2005 up to and including the Louisville Rejection Date. BOK paid the rent for the

Louisville Premises each month up to July, 2005. A payment in the amount of

$39,684.66 for the basic rent under the Louisville Lease is due for the period from July 1,

 

2005 to August 31, 2005.

b. Percentage Rent. Debtor is obligated to pay LS-KY, as an addition to the
Basic Rent, amounts for Debtor’s gross sales in the Louisville Premises (as defined in the
Louisville Lease, “Percentage Rent’) for the period from the Petition Date to and
including the Louisville Rejection Date. Specifically, Debtor is obligated to pay LS-KY
as Percentage Rent an amount equal to the amount, if any, by which 1% of all gross sales
made at the Louisville Premises during Debtor’s fiscal year exceeds the Basic Rent
reserved under the Lease. Upon information and belief, BOK’s sales at the Louisville
Premises did not reach sufficient levels to invoke this percentage rent clause. In the event
that LS-KY receives subsequent information to the contrary, LS-KY reserves the right to
amend this application to assert such additional amounts due.

c. Maintenance and Repair. Debtor was responsible for keeping the

 

Louisville Premises in good condition, repair and appearance during Debtor’s
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postpetition use and occupancy thereof. After BOK vacated the Louisville Premises, LS-
KY inspected the Louisville Premises via BTM Engineering, Inc., of Louisville,
Kentucky (“BTM”), which identified damage in the total amount of $76,994.50. Some of
the damage occurred over the life of the Lease while other damage occurred during the
period between the Petition Date and the Louisville Rejection Date. LS-KY has pro-rated
the repair costs between those periods, as set forth in detail in Exhibit 1 attached hereto.
LS-KY asserts that the damage which occurred between the Petition Date and the
Louisville Rejection Date amounts to $27,434.00.

d. Insurance. Debtor also was required by the Louisville Lease to maintain
policies of insurance pursuant to which LS-KY was named an additional insured, and to
not cancel such insurance without prior written notice to LS-KY. To the best of LS-KY’s
knowledge, Debtor and/or BOK paid the insurance on the Louisville Premises during the
period between the Petition Date and the Louisville Rejection Date.

€. Unpaid Taxes. Under the Louisville Lease, which is an absolutely net
lease, Debtor has the obligation to pay all Impositions, including any taxes wherever or
however assessed against the Louisville Premises, whether real estate, ad valorem or
otherwise. As set forth in detail in Exhibit 2 attached hereto, LS-KY has paid the
Jefferson County real estate taxes in the amount of $20,695.16 which were due in
December, 2005 as well as a Jefferson County “weed control” tax in the amount of
$248.00. Based upon the time between the Petition Date and the Louisville Rejection

Date, the Debtor’s share of the 2005 real estate taxes is $10,959.30.

 
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9. As a result of the Debtor’s obligations to LS-KY under §365, pursuant to 11
U.S.C. §§ 365(d)(3), 503(b)(1) and 507(a), LS-KY has the following administrative claims,
among others, against Debtor under the Shelbyville Lease:

a. Rent: Debtor was obligated to pay rent for the period from the Petition
Date up to and including the Shelbyville Rejection Date. BOK paid the rent for the
Shelbyville Premises for each month up to December, 2005. A payment in the amount of
$9,342.54 for the basic rent under the Shelbyville Lease is due for the period from
December 5, 2005 to December 15, 2005.

b. Percentage Rent. Debtor is obligated to pay LS-KY, as an addition to the
Basic Rent, amounts for Debtor’s gross sales in the Louisville Premises (as defined in the
Shelbyville Lease, “Percentage Rent”) for the period from the Petition Date to and
including the Shelbyville Rejection Date. Specifically, Debtor is obligated to pay LS-KY
as Percentage Rent an amount equal to the amount, if any, by which 1% of all gross sales
made at the Shelbyville Premises during Debtor’s fiscal year exceeds the Basic Rent
reserved under the Lease. Upon information and belief, BOK’s sales at the Shelbyville
Premises did not reach sufficient levels to invoke this percentage rent clause. In the event
that LS-KY receives subsequent information to the contrary, LS-KY reserves the right to
amend this application to assert such additional amounts due.

c. Maintenance _and Repair. Debtor was responsible for keeping the
Shelbyville Premises in good condition, repair and appearance during Debtor’s
postpetition use and occupancy thereof. After BOK vacated the Shelbyville Premises,
LS-KY inspected the Shelbyville Premises via BTM, which identified damage in the total

amount of $11,110.00. Some of the damage occurred over the life of the Shelbyville
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Lease while other damage occurred during the period between the Petition Date and the
Shelbyville Rejection Date. LS-KY has pro-rated the repair costs between those periods,
as set forth in detail in Exhibit 3 attached hereto. LS-KY asserts that the damage which
occurred between the Petition Date and the Shelbyville Rejection Date amounts to
$1,210.00.

d. Insurance. Debtor also was required by the Shelbyville Lease to maintain
policies of insurance pursuant to which LS-KY was named an additional insured, and to
not cancel such insurance without prior written notice to LS-KY. To the best of LS-KY’s
knowledge, Debtor and/or BOK paid the insurance on the Shelbyville Premises during
the period between the Petition Date and the Shelbyville Rejection Date.

€. Unpaid Taxes. Under the Shelbyville Lease, which is an absolutely net
lease, Debtor has the obligation to pay all Impositions, including any taxes wherever or
however assessed against the Shelbyville Premises, whether real estate, ad valorem or
otherwise. As set forth in detail in Exhibit 4 attached hereto, LS-KY has paid the Shelby
County real estate taxes in the amount of $30,085.05 which were due in October, 2005.
Based upon the time between the Petition Date and the Shelbyville Rejection Date, the
Debtor’s share of the 2005 real estate taxes is $24,480.16.

10. By virtue of Debtor’s default under the Leases, Debtor is liable to LS-KY for LS-
KY’s enforcement of its rights under the Leases, including but not limited to its attorneys’ fees
and costs. LS-KY has incurred $73,351.52 in fees prior to the rejection of the Leases. LS-KY
has not attached copies of the statements for these fees in order to preserve the attorney-client
and attorney work product privileges, but will submit redacted copies thereof upon request.

11. LS-KY reserves the right to amend and supplement this claim (including filing
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additional evidence in support of this claim) or to file additional claims, including, without
limitation, all other claims at law or in equity arising on or after the Petition Date.

12. Case law supports LS-KY’s request that the Administrative Claim be paid
promptly. LS-KY is requesting that the Debtor pay LS-KY as an administrative claim for those
charges that accrued prior to the Debtor’s rejection of the Leases. The components of LS-KY’s
administrative claim are charges that accrued during the period between the Petition Date and the
Louisville Rejection Date and/or Shelbyville Rejection Date (as the case may be), regardless of
the date for payment of any of the charges.

13. The Leases require the Debtor to maintain the Louisville Premises and the
Shelbyville Premises good condition, repair and appearance, and to return both to LS-KY in like
condition, reasonable wear and tear excepted. The Leases specifically state:

Lessee shall peaceably surrender the Leased Premises to Lessor in the same
condition in which they were received ... except for ordinary wear and tear.
Lessee shall remove from the Leased Premises on or prior to such
termination all property not owned by Lessor, and, at its expense, shall,
prior to such termination, repair any damage caused by such removal. ...
The ... cost of repairing any damage caused by such removal shall be borne
by Lessee.
Leases, Section 27 (emphasis added).

14, In paragraph 22(c), each of the Leases provides that the Debtor is responsible for
payment of LS-KY’s attorneys’ fees in the event of a breach of the Lease. Commonly, courts
have found that a landlord may recover its costs in enforcing the terms of its lease provided that
the lease agreement provides for such fees and the fees are reasonable. See In re Child World,
Inc, 161 B.R. 349, 353 (Bankr. S.D.N.Y. 1993); In re Shangra-La, Inc.,_167 F.3d 843, 849-50
(4" Cir. 1999), and In re Crown Books Corp., 269 B.R. 12, 14-18 (Bankr. Del. 2001), As LS-

KY has incurred attorneys’ fees after the commencement of this case and after the
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commencement of BOK’s case in connection with enforcing its rights under the Leases, LS-KY
is entitled to a claim for its fees incurred during the Debtor’s postpetition occupancy of the
Premises.

15. LS-KY further requests that the Court order the immediate payment of LS-KY’s
administrative claim. Section 365(d) of the Code states that “[t]he trustee shall timely perform
all the obligations of the debtor ... arising from and after the order for relief under any unexpired
lease of nonresidential real property, until such lease is assumed or rejected...” 11 U.S.C.
§365(d)(3)(emphasis added). Courts have interpreted “timely” to mean in accordance with the
terms of the lease between the parties. See Ha-Lo Industries, Inc. v. Centerpoint Properties
Trust, 342 F.3d 794, 798 (7" Cir. 2003)(“obligations under an unexpired lease that arise after an
order for relief ... are to be timely fulfilled under the terms of the lease’). As each of the
obligations listed in this Administrative Claim is an obligation incurred during the Debtor’s
postpetition occupancy of the Premises, the Debtor should be required to pay those obligations in
a timely fashion as directed by the Code. See Trizechahn 1065 Avenue of the Americas, LLC v.
Thomaston Mills, Inc., 273 B.R. 284, 289 (M.D. Ga. 2002)(“‘in the event sufficient funds are not
available to pay all administrative claims this payment is subject to the trustee’s right to seek
recovery of all or part of the payment”).

WHEREFORE, LS-KY respectfully requests that the Court enter an order allowing LS-
KY’s Administrative Claim in an amount not less than $186,462.18, and directing the prompt
payment of LS-KY’s allowed Administrative Claim within ten (10) days after entry of an order

on this motion.

[Signature page follows]
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I DECLARE UNDER PENALTY OF PERJURY PURSUANT TO 28 U.S.C. $17
THAT THE FOREGOING IS TRUE AND CORRECT.
Dated: September Z5, ‘ 2006

By:
John H. O. La G¢tta, Frustee of the La Gatta 1990

Trust, as Managing Member of Catamount KY-LS,
LLC, a Nevada limiféd liability company

 

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Dated: October 5, 2006

KD_727294_2.DOC

Respectfully submitted,

/s/ C. Daniel Motsinger
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-and-

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Attorneys for Catamount LS-KY, LLC, a Nevada
limited liability company, as assignee of Helene
Funk and Peter W. Merner, as nominee for John H.
O. La Gatta, as successor to Flask Corporation

-ll-
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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing has been served upon the
parties by operation of the Court’s electronic filing system on October 5, 2006, as indicated
below:

/s/ C. Daniel Motsinger
C. Daniel Motsinger

Adam Ravin Dennis F. Dunne

Skadden Arps Slate Meagher & Flom, LLP Milbank Tweed & Hadley
Four Times Square 1 Chase Manhattan Plaza
New York, NY 10036 New York, NY 10005

Elana L. Escamilla John B. McDonald

Office of United States Trustee Akerman Senterfitt

135 W. Central Boulevard, Suite 620 50 N. Laura Street, Suite 2500
Orlando, FL 32806 Jacksonville, FL 32202

Cynthia C. Jackson

Smith, Hulsey & Busey

225 Water Street, Suite 1800
Jacksonville, FL 32201

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Case 3

Preliminary Cost Opinion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Winn Die - 4th & Oak St.
|__| Building Repair
09/23/05 _. _ _
Rev, 0
__| By: MJS/IRE 3001 Taylor Springs Drive
___.|Rev. 4 - 06/09/06 MJS - rework to include bidg repal Loutevite, KY 40220
and mnte only Phone (502) 459-8402
Labor Materials
= lten/Description Units [Qty Unit Costs Item Costs Unit Costs ttem Costs Total Costs Comments
tp Handrail .
Removal /L.F. it BE 42.63 750 82.50 425
Replacement jL.F. As 7! 85.25 18.00 165.00 250
2| Joint Between Stair and Wall LF. 1 at 28.16 1.24 13.64 42
__.3| Generator Exhaust Pipe Exit
Wail Cover Addition! Sq. Ft. 4 4.71 474 1.28 4.281 $ 5
4|Masonry Paint at Loading Dock 0.00 0.00
Removal/Sq. Ft_| 2,700 0.28 742.50. 6.06: 162.00! $ 1,350
RepaintiSq. Ft. | 2,700 0.55 4,485.00 0.42 324.00} $ 2,700
S}Roof 0.00
Hole Patch! Gal, 1 280.00 280.00 18.05 18.05] $ 20
6) Ceiling Tile
om fee Replacement /Sq. Ft, 440 0.27 118.80 1.28 563.20! $ 810
7{ Restroom Fixture Leaking Mires 412 62.50 750.00 10,00 420.00] $ 870
8{Mold/ Mildew 0.00 0.00
Remediation! Sq. 600 4.00 2,400.00: 1.00 600.00 3,000
+ Replacement |Sq. 600 4.15 690.60 0.25 150.00 4,250
Paint! Sq. Ft. 600 0.36. 216.00 0.09 54.00 384
9} Floor Drains each § 45.00 225.00 5.00 25.00 250
40} Floor Tiles 9.00 0.00:
Removal (includes Refrigeration Area) Sq. Ft. | 2,530 0.26 657.80. Q.50. 1,265.00: 2,370
Replacement (Includes Refrigeration Area} Sq. Ft. | 2,530 0.52 1,315.60: 1.00 2,530.00 4,735
Removal! Sq. Ft. 1,005 0.26, 61.30 0.50 502.50 250
Replacement | Sq. Ft, 1,005 052 122.60 4.00 1,005.00 1,900
a 21,000
_._.Notmal Building Maintenance hem
ftems fthru 5, 7, 8 $ 10,000
= 5 40,000
Damage Due to Removal of Equipment
__fltems 6, 9, & 10
Subtotal = $ 14,000
Page Total = $ 21,000
| Page 1 Total O45
Page 2 Total 050
Page 3 Total 21,000
Sub Total 69,995
10% inflation and cost increase allowance Sub Total $ 7,000
,
Total Est Costs $ 76,994.50
Page 1 Total 32,505
Page 2 Total 2,550
Page 3 Total 10,000
Sub Total 45,055
10% inflation and cost increase allowance Sub Total $ 4,506
Total Est Costs $ 49,560.50
Page 1 Total 440
Page 2 Total 000
Page 3 Total 000
Sub Total 24,940
10% inflation and cost increase allowance Sub Total $ 2,494
Total Est Costs 3 27,434.00 .
Page Total = 3. 78,994.50

 

 

 

 

 

 

 

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Case 3

Preliminary Cost Opinion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Winn Dixie - 4th & Oak St. :
Building Repair
09/23/05 Estimate
Rev. 0
By: MJS/JRF
__|Rev. 4 - 06/09/06 MJS - rework to include 3001 Taylor Springs Drive
bldg repair and mntc only Louisville, KY 40220
Phone (502) 459-8402
Labor Materials
| ltem/Description Units | Qty UnitCosts Item Costs Unit Costs Item Costs Total Costs Comments
Mechanical
1|Seal cut copper refrigerant tubing MHr 135 55.00 | $ 7,425.00 12.50 | $ 1,687.50 9,100 |For long term storage
Electrical
2|Secure open circuits at cooler LS i $ 4,400.00 $ - 4,400
3|Replace damaged distibution panel EA i $ 1,233 $ 1,317 2,550 |From Means Est Guide
Estimated cost to restore working condition
Page 2 Total 16,050
Normal Bullding Maintena
Item no. 3 EA 4 $ 1,233 $ 1,317 2,550 | From Means Est Guide
Subtotal = 2,550
Damage Du
{items 1 & 2 . . . 13,500
Subtotal = 13,500
Page Total = 16,050

 

 

 

 

 

 

 

 

 

 

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Case 3

Preliminary Cost Opinion

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

  

 

 

 

 

 

 

 

 

 

Winn Dixie - 4th & Oak St.
Buitding Repair
09/23/05 Estimate a
Rev. 0
By: MJS/JRF
|____|Rev. 4 - 06/09/06 MJS - rework to include 3001 Taylor Springs Drive |__
bidg repair and mnitc only Louisville, KY 40220 |_|
Phone (502) 459-8402
Labor Materials
~~] ttem/Deseription Units [Qty Unit Costs item Costs Unit Costs Item Costs Total Costs Comments
1|Wheel Stops
Removal] each 12 15.00 480.00 10.00 120.00 325
Add{each 120 30.00 3,600.00 45,00 1,800.00 650
Paint|each 38 7.00 266.00 8.00 304.00 570
2\Cart Coral LF. 44 7.75 85.25 12.51 187.61 330
3iLight Standard
Remove PaintiSa. Ft. 70 0.82 57.40 142 99.40 200
Repaint!Sq. Ft. 70 1.64 414.80 2.83 498.10 400
4 | Building Foundation (parking lot area)
Demolition | Sq. Ft. 2,200 2.89 6,358.00 0.38 836.00 7,200
Repaving|Sq. Ft. | 2,200 0,05 440.00 0.36 792.00 4,060
5} Asphalt pavement
Sawcut Pavement|L.F. 160 0.46 73.60 0.55 88.00 208
Pavement Removal) Sq. Yd. 700 1.74 1,218.00 1.20 840.00 2,800
Pavement Replacement|Sq. Fi. 2,100 0.05 405.00 0.36 756.00 1,000
Resealing|Sq. Yd. | 4,700 0.50 2,350.00 0.50 2,350.00 4,700
6 Repaint P-lot Curbs Sq. Ft. 250 0.55 137.50 0.12 30.00 250
Striping LF. 4,000 0.17 680.00 0.06 240.00 1,200
7(Curb at Building Front
Demolition |L.F. 30 2.52 75.60 0.78 23.40 4150
Reform) L.F. 30 0.97 29.10 0.95 28.50 80
8 Tree Removal each 8 470.00 4,360.00 127.00 1,016.00 3,240 Hlocation is damaging roof
Gutter
Removal [L.F. 155 0.89 437.95 0.00 0.00 215
ReplacementiLF. 155 2.68 415.40 1.22 489.10 850
QIEIFS 0.00 0.00
Removal 20 2.70 54,00 41.77 35.40 121
Replacement! Sq. Ft. 20 5.40 408.00 3.54 70.80 242
10 | Windows
Remove & Reset Flashing |L.F. 16 1.37 21.92 0.00 35
Replace Sealant |L.F. 16 2.56 3,600.00 4.24 1,800.00 84
11|Seal Masonry Expansion Joints
Caulking |L-F. 400 2.56 85.25 1.24 137.61 2,100
12 | Drive Through Window Opening each 1 61.00 0.00 300.00 - 0.00 440
13) Truck Bumper at Loading Dock
Replacementi each 2 13.70 114.80 42.00 198.10 135
Page 1 Total 28,585
___. Normal Building Maintenance tem: 28,145
Includes items 1 thru 14+ 43
Adjust Tree Removal Costs 4,360
(revised estimate is $7,600 vs $3,240)
nnd Subtotal = 32,505
__ bamage Due to Removal of Equipment/Fixt
Drive Through Window Opening (item 12) leach 4 61.00 75.60 300.00 23.40 440
Subtotal = 440
Page Total = 32,945

 

 

 

 

 

 

 

 

 

 

 

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LOUISVILLE TAX PAYMENT

Attached is the 2005 Property Tax Notice, We paid this with LEG check #291 on
December 28, 2005, :

 
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Jetrerson County nentucny = nov 97 200
2005 Property Tax Notice Date e Issued 41/01/08

 

 

 

 

   
 

     

     
  

 

 

 

 

carr ner enenannnnnEr ry Crt ann, IF YOU HAVE QUESTIONS ABOUT YOUR PROPERTY TAXES,
LAMM cdl A PLEASE CALL THE APPROPRIATE OFFICES
t8-i29 EAL GSYATE ASSESSMENTS PVA OFFICE’ 574-6380
cos REAL 2009 TAY BILL SHERIFE,Y STL-B479
Owner of record URBAN SERVICE DIST LOUSVILLE B145479
Tax info onting at whew. josoky.org
CATAMOUNT LS KY LLC - an
50 W LIBERTY ST STE 1080 :
RENO RY 88501-1901 11/01/2005 to {YO1/2005 20,281.25 (24DISCOUNT)
12/02/2008 lo 12/31/2005 20,695.16 (GROSS TAX}

OLATT/2006 to 01/31/2006 21,728.92 (S%PENALTY)
O/OT ANOS to 04/10/2006 25,041.16  (10%410%)
O4/1 1/2006 to OABN/2006 25,062.16 (10%410%4S21,

Tuses wot puld by the lant date thoan are contidered

 

    

"QUST HoooT 19248 ete
t cy ee ii ema) a gross, yen : delinqucne aad may ba subject  tegat action,
Schedule / Description at Property Taxable Assessment Taxing Jorisdicion Tax Rates 100 Gross Tax
41485 4TH ST LAND 960,800 STATE OF KY 0.1970 2,156.28
BUILDINGS} 1,276,200 METRO RE TAXES 0.1280 106.88
DIST BLOCK LOT SUBLOT TOTAL 1,646,000 JEFF CO SCHOOLS 0.8250 10,287.50
08 OK = Sf 0000 URBAN SERY DIST Agr 6,144.82

  

ade BOIL
December 70,2005

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2h UNECE Tee
f Nemeb and a eee your check or money order for proper credit. Ratain top section fer your recor 6
Joffersou County Property Tax Payment Stub . Tax Year:
ee ett st ee mre - Amount You Are Puying: mp EE,
REAL ESTATE CUST ¥0001112248 .
Pro Owner: Ba ARATE ral
cavauount Ls eyite ed ie AN ti emuun rae a iq Make your check or moncy otder payable to
SOW LIBERTY ST STE 1000 (Pol yt Balance el Jefferson County Sheriff's Office
RENO RY Bosot-isai T1A01 22005 to 19701/2005°20,281.25" (P4DISCOUNT) P.O. Box 70300
12/02/2005 lo (2/31/2005 20,695.16 (GROSS TAX) Louisville, KY 40270-0300
01/01/2006 to 01/91/2006 21,729.92 (SSSPENALTY)
sill Is For: DOMNT 2008 to AN 02006 26,041.16 (10%+10%)
. D4 1/2006 to OVS0/2006 25,062.16. (10%+10%+ $21}
4148S STK ST

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Case 3:05-bk-03817-JAF Doc11645 Filed 10/05/06 Page 18 of 24

Jefferson County Sheriff's Office - Property Tax Search Page hence,

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Property Fax Search

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Home ' Search by Property Owner's Nama
Start a New Search

Property ID: Property Owner: Tax Year:
08029K00510000 CATAMOUNT LS KY LLC 2005 _
Property Location Address: 50 W LIBERTY STE 1080 Invoice Number:
1148 5 4TH ST RENO NV 89501 2050500 _
Property's Taxable Asseasment: iMortgage Company Nam:
$1646000 Gross Amt: $20598.16
Homestead Exemption Amount: gO
Disability Exemption Amount: Lo \g0

Payment Perlods Amount If Pald |
Discaunt Amount: $0
Gross Amount: $0
5% Penalty Amount: . -_ |$0
10% + 10% Penalty Amount: $0
10% + 10% + $21 Penalty Amount; : #0
Amount Paid: $20695,16
Paid on: 12/28/2005
Balance Due: \$0

 

 

 

http://www Josoky.org/ptax_search_results_name.asp §/30/2006
Case 3:05-bk-03817-JAF Doc 11645 Filed 10/05/06 Page 19 of 24

Preliminary Cost Opinion

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Winn Dide - Shelbyville, KY
B Repair
12. 06.
Rev. 1 Update after 06/11/06 walk-through
By: MIS XOOT Taybe Springs Orve
Rev. 2 Estimate Categorization - 8/17/06 Louisville, KY 40220
Phone {562} 459-8402
Labor Materials
~ Homvt ‘Units ‘Oty Unit Costs | Item Costs | Unit Costa | item Costs | Total Costs fe
1 i Repaly Electrical Ct is 1 $ 75.00, $ 10,00 | $ 85.00
2 {Replace exterior light EA 3 $ 450.00 $ 450.00 | $ 300,00
3[Celting Tile
~~ Replacement |Sq. Ft. 400; $0.27 108.00 128 $12.00 | $620.00 [based on 50 tiles
4) Mold/ Mitdew Contamination - : :
Ramediation | Sq, Ft. 1.2001 $ 4,00 4,800.00 1,00 1,200.00 | $6,000.00. 1 Qty per site measurements
8q. Ft. 1,200 | $ 418 1,380.00 0.25 300.00 | $1,680.00
Paint Sq. Ft. 1,200] $ 0.36 432.00 9.09 i $ 108.00 1 $ 540.00
5 [Floor Tiles.
8g. Ft 200) $ 9.52 | $ 104.06 1,00; 3 206,00 1 $ 304.00
6 [Wall Damage - Gypsurn drywall Sq. Ft 416 £ 75.00 3 35.00 |$ 140.00
7 Damage to column tines is i 35.00 §_Bo.00 [3100.00
Si Repair Brick corner at dock - exterior SE 30; $ 750 1S 225.00 SiS 150.00 1} $ 375.00
Sub Total $
Inflation Allowance 16% $
Total $
__ Neral BUdLhE: GaN BARERE Reine
7 Labor Materials
{ ption
Units iGty Unit Costs | Hamm Costs Unit Costs item Costs | Totaf Costs c
i Repair Electrical Circuit LS 1 $ 75.00 $ 40.06 1 $ 85.00
2/Replace exterior light EA 4 3 150.00 $ $50.00 | $ 300.00
4 | Mold! Mildew Contamination = =
Re Sg. Ft. 1,200! $ 4.00 4,800.00 1,06] $1,200.00 | $ 6,000.00 [dty per site
Raplacement (Sq. Ft, 1,200} $ 4.18 1,380.00 6.25 300.00 | $4,680.00
Palnt| Sq. Ft 14,2001 $ 0.36 432.00 9.09) § 108.00 | $540.00
8 Repair Brick cornar at dock - exterior SE 301 $ 750 1 $ 225.00 StS 180.00 "| $375.00
Sub Total = 5,000
inflation Allowance 10% $ 300
Total $ 3,900
na Labor Materials
NemDescription
Units Oty Unlt Costs | item Costs Unit Costs Item Costs | Total Costs Comments
3 [Gelling Tite
Replacement | Sq. Ft 400) $ O27 i$ 108,00 4.281 $ 312.00 | $ 620.00 [based on 50 tiles
§ {Floor Tes
Replacement | Sq. Ft. 2001 $ 0.5213 404.00 1.00) $ 200,00 1 $ 304.06
6 Wall Damage - Gypsum drywall Sq. Ft 16 $ 78.00 $ 35.00 | $ 110.00
1 {Gamage to column trimss us i $ 50.00 $ 50.00 1 $100.00
Sub Totat $ 4,100
Inflation Allowance 10% $ 110
Total $ 1,210

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

shelbyville txts
 

Case 3:05-bk-03817-JAF Doc11645 Filed 10/05/06 Page 20 of 24

SHELBYVILLE TAX PAYMENTS

One check for $27,259.93 with check #265 ~ dated October 27, 2005

One check for $2,825.12 with check #266 ~ dated October 47, 2005

Exh: byt ¥
 

Case 3:05-bk-03817-JAF Doc11645 Filed 10/05/06 Page 21 of 24

 

    
    
 

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Case 3:05-bk-03817-JAF Doc11645 Filed 10/05/06 Page 22 of 24

Property Tax Bill Bring or Mail This Copy With Your Payment

Commonwealth of Kentucky

 

 

 

 

 

 

2605 Shelby County
640C-00-008
MIDLAND CENTER 4.667 ACRES
FLASK CORP
C/O WINN DIXIE LOUISVILLE, INC
5050 EDGEWOOD COURT 93
JACKSONVILLE, FL 32203- ‘ sy, ,
Pleneg correct address {f incorrect, Amount Paid: O7/959' 7"
Check Number: Gs S_
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50) Main Streot, Suiw 8 —
Shelbyville, KY 40065. 1194

 

 

 

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LA GATTA ESTATE CO
TRUST TE Coweaw INC.

50 W. UBERTY ST, STE. 1080
RENO, NV Ba801

  
 
 
 

 

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Case 3:05-bk-03817-JAF Doc11645 Filed 10/05/06 Page 23 of 24

 

 

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Case 3:05-bk-03817-JAF Doc11645 Filed 10/05/06 Page 24 of 24

Property Tax Bill
Commonwealth of Kentucky

2005 Shelby County

* O40C-00-009
WINN DEXIB ADI. TR 4 MIDLAND CENTER

FUNK HELENE AND PETER W MERNER
NOMINEES FOR JOHN HOLA GATTA +

 

 

 

 

 

Bring or Mail This Copy With Your Payment

 

$050 EDGEWOOD COURT /2
JACKSONVILLE, PL 32203- “4, .
Please correct address If incorrect Amount Paid: “4, 99.5 /?_ Ss
Check Number:__ 7A@G
Mile Armstrong, Sted
. $01 Muin Street, Suite a
Shalbyvillo, KY 40065-1

 

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LA GATTA ESTATE COMPANY INC. 266
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